 

Case 3:18-mj-O2238-RNB Document 16 Filed 05/24/18 Page|D. 16 Page 1 of 2

 

      

 

 

 

 

 

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emma (Rev. 12/11) Judgment in a Criminal Petty Case wi !_.,,,Ii‘:“;'i‘ iii “ l
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UNITED STATES DISTRICT CoURT MW;ML-;§
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soUTHERN DIsTRICT oF CALIFORNIA 394 n n nl f '~ l 'Wi" §§§ r'¢
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v_ (For Offenses Committed On or After November l, 1987)
Abel Castro~Bracamontes Case Number: 13M12233-RNB
MICHAEL GRAH'N

 

Defendant’ s Attomey
REGISTRATION NO. 69583298

|:l

THE DEFENDANTZ
pleaded guilty to count(s) 1 OF THE COMPLAINT

m was found guilty on count(s)
after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

 

Count
Title & Section Nature of Offense Number§s!
S: 1325 ILLEGAL ENTRY (Misdemeanor) ' 1

The defendant is sentenced as provided in pages 2 through 2 Ofthis judgment,

ij The defendant has been found not guilty on count(s)

l:l CO““¢(S) is l:| are|j dismissed on the motion of the United States.
Assessmem; 310 WAIVED

 

Fine not imposed |:l Forfeiture pursuant to order filed , included herein.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district Within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States Attorney of any material change' 1n the defendant's economic circumstances

MAY 23, 2018 /'/`"

H'oN. RoBE F§LOCK
UNITED s ATES MAGISTRATE JUDGE

 

18MJ223 S-RNB

 

 

Case 3:18-mj-O2238-RNB Document 16 Filed 05/24/18 Page|D.17 Page20f2

AO 2453 (Rev. 12.’1 l) Judgment in Criminal Petty Case
Sheet 2 _ Imprisonmenl

 

.iudginent _ Page 2 of 2
DEFENDANT; Abel Castro-Braeamcntes
CASE NUIVIBER: 18MJ2238_RNB
IMPRISONMEN'I`
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of

TIME SERVED.

l___] Sentence imposed pursuant to Title 8 USC Section l326(b).

l:l The court makes the following recommendations to the Bureau of Prisons:

|:| The defendant is remanded to the custody of the United States Marshal.

[:| The defendant shall surrender to the United States Marshal for this district:

\:| at Ea.m. Ep.m. on

as notified by the United States Marshal.

 

 

[:| The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

|:|

|:\ as notified by the United States Marshal.

 

m as notified by the Probation or Pretri al Services Office.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgmentl
UNlTED sTAres MARSHAL
By

 

DEPU'I`\:r UN]TED STATES MARSHAL

18MJ2238-RNB

